     Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 1 of 12




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



LISA PETERSON,                          )
                                        )
      Plaintiff,                        )
                                        )
                                        )   Civil Action No.:
                                        )
v.                                      )
                                        )
 PARK SPRINGS LLC                       )      JURY TRIAL DEMAND

      Defendants.


                                COMPLAINT
      This is an action under Title VII of the Civil Rights Act of 1964, as

amended, and Title I of the Civil Rights Act of 1991 ("Title VII"), and 42

U.S.C. Sec. 1981 to correct unlawful employment practices on the basis of

race, and to provide appropriate relief to Lisa Peterson (Plaintiff or Peterson),

who was adversely affected by such practices. The Plaintiff alleges that Park

Springs LLC (Defendant or Park Springs) terminated her employment

because of her race -African-American and gender-female, in violation of Title

VII and §1981.


                          JURISDICTION AND VENUE


                                       1
     Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 2 of 12




1.   Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,

     1337, 1343 and 1345. This action is authorized and instituted pursuant

     to Section 706(f)(l ) and (3) of Title VII of the Civil Rights Act of 1964, as

     amended, 42 U.S.C. §. 2000e-5(f)(l ) and (3) (Title VII), and Section 102

     of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.


2.   The employment practices alleged to be unlawful were committed within

     the jurisdiction of the United States District Court for the Northern

     District of Georgia, Atlanta Division.


                        PARTIES


3.   Plaintiff Lisa Peterson , is an African American female who was

     employed by Defendant Park Springs. At all times relevant to this

     Complaint, Plaintiff is a citizen of the United States and a resident of

     the state of Georgia. At all times relevant to this Complaint, Peterson

     was an employee of Defendant.

4.   Plaintiff submits to the jurisdiction and venue of this Court and is

     entitled to bring this action under state and federal law for all general,

     special, and any other permissible damages.




                                        2
     Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 3 of 12




5.   Parks Springs is a residential retirement community with over 500

     employees. At all relevant times, Defendant has continuously been

     doing business in the State of Georgia and has continuously had at

     least 15 employees.

6.   At all relevant times, Defendant has continuously been an employer

     engaged in an industry affecting commerce under Section 701(b), (g)

     and (h) of Title VII, 42 U.S.C. § 2000e(b), (g) and (h), and 42 U.S.C.

     §1981.

7.   The Defendant Park Springs may be served through its registered

     agent E. Andrew Isakson located at 500 Springhouse Circle, Stone

     Mountain, Ga 30087.


                    PROCEDURAL REQUIREMENTS
8.   Plaintiff has satisfied all procedural requirements prior to commencing

     this action. Plaintiff timely filed a charge of discrimination with the

     Equal Employment Opportunity Commission (“EEOC”) against Park

     Springs. Plaintiff, through her attorney, received a right to sue letter on

     or about February 17, 2021 and files this complaint within ninety (90) days

     receipt thereof (Exhibit 1).

                             CAUSE OF ACTION


                                       3
      Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 4 of 12




9.    Lisa Peterson is an African-American female.

10.   On April 2, 2017, Park Springs hired Lisa Peterson as the Director of

      Nursing.

11.   At the time of her hire, Lisa Peterson was the only African-American

      female to hold a Director-level position.

12.   As the Director of Nursing, Charging Party Peterson was managed by

      Mark McKettrick, a white male.

13.   Later Starla Gleaton, a white female, became Plaintiff’s manager.

14.   Tim Knight, one of Peterson’s co-workers, is a white male.

15.   During Peterson’s employment she was not warned that her

      performance could cause her to lose her job.

16.   Instead, on December 17, 2018, Peterson was thanked for her

      leadership.

17.   Peterson’s 2018 annual evaluation was her last evaluation prior to her

      termination.

18.   In her 2018 annual evaluation, Peterson received a total supervisor

      score of 96%.

19.   In her 2018 annual evaluation, Peterson was scored as “highly

      effective” in the majority of the performance factors.



                                       4
      Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 5 of 12




20.   Donna Moore, a white female, was the Vice President of Operations for

      Park Springs.

21.   On March 14, 2019, Donna Moore, the VP of Operations, emailed

      Peterson requesting to meet with her.

22.   On March 14, 2019, when Peterson arrived to the meeting, in

      attendance was Donna Moore and Ginger Hansborough, the Accounting

      Director.

23.   No one from the Human Resource Department was in attendance at

      this March 14, 2019 meeting.

24.   No one from the Human Resource Department had been informed that

      Peterson’s employment would be terminated during this March 14,

      2019 meeting.

25.   During the March 14, 2019 meeting, Donna Moore told Peterson that

      she did not fit Park Springs’s culture.

26.   During meeting, Donna Moore only reason given for Peterson’s

      employment termination was “Culture Change.”

27.   During the meeting, Peterson asked Donna Moore what did she mean

      by “culture change.”




                                       5
      Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 6 of 12




28.   During the meeting, Donna Moore did not provide a response to

      Peterson’s question asking her to explain what she meant by culture

      change.

29.   During the March 14, 2019, Donna Moore did not informed Peterson of

      any performance issues that caused her employment termination.

30.   On March 14, 2019, Park Springs terminated Peterson’s employment.

31.   In its separation notice, Park Springs stated the reason for Lisa

      Peterson’s termination was “culture change.”

32.   Prior to her employment termination, Peterson was not counseled about

      her work performance.

33.   Prior to March 14, 2019, Lisa Peterson’s employment termination had

      not been approved by Human Resources.

34.   Prior to March 14, 2019, Lisa Peterson’s employment termination had

      not been approved by the Executive Director.

35.   After Peterson’s termination, the Nursing Supervisor, a white male

      served as interim Director of Nursing.

36.   After Peterson’s termination, Tim Knight assumed some of Peterson’s

      Director of Nursing duties.

37.   June 04, 2019, Park Springs received Peterson’s Litigation Hold and

      Demand for Preservation.
                                       6
      Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 7 of 12




38.   June 04, 2019, Park Springs received notice that Peterson was

      asserting claims of unlawful discrimination because of her termination

      from the Director of Nursing position.

39.   Teisha Roberts was hired as Director of Nursing after June 4, 2019.

40.   Park Springs terminated Teisha Roberts’ employment.

41.   Teisha Roberts had worked less than 12 months when Park Springs

      terminated her employment.


                          COUNT I
        VIOLATIONS OF TITLE VII -RACE DISCRIMINATION
42.   Plaintiff incorporates by reference all the preceding paragraphs of the

      Complaint, and any other facts this Court deems relevant, as if fully

      stated herein to support all allegations made in this Count.

43.   Based on the facts incorporated to support this Count, Park Springs

      deprived Plaintiff of equal employment opportunities and her right to

      be free of racial and discrimination.

44.   Park Springs’s unlawful employment practices were intentional and

      was motivated by race, at least in part, if not in whole.

45.   Consequently, Plaintiff is entitled all permissible damages under law.


                          COUNT II
       VIOLATIONS OF TITLE VII -GENDER DISCRIMINATION


                                        7
      Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 8 of 12




46.   Plaintiff incorporates by reference all the preceding paragraphs of the

      Complaint, and any other facts this Court deems relevant, as if fully

      stated herein to support all allegations made in this Count.

47.   Based on the facts incorporated to support this Count, Park Springs

      deprived Plaintiff of equal employment opportunities and her right to

      be free of gender discrimination.

48.   Park Springs’s unlawful employment practices were intentional and

      was motivated by sex, at least in part, if not in whole.

49.   Consequently, Plaintiff is entitled all permissible damages under law.




                              COUNT III
                      VIOLATIONS OF 42 U.S.C. §1981
50.   Plaintiff incorporates by reference all the preceding paragraphs of the

      Complaint, and any other facts this Court deems relevant, as if fully

      stated herein to support all allegations made in this Count.

51.   Based on the facts incorporated to support this Count, Park Springs

      deprived Plaintiff of equal employment opportunities and her right to

      be free of racial discrimination in her employment relationship with

      Park Springs.

52.   Park Springs’s unlawful employment practices were intentional.

                                          8
      Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 9 of 12




53.   Park Springs terminated Plaintiff’s employment because of her race.

54.   Consequently, Plaintiff is entitled to all permissible damages under

      law.

                                  COUNT IV
                               PUNITIVE DAMAGES

55.   Plaintiff incorporates by reference all the preceding paragraphs of the

      Complaint, and any other facts this Court deems relevant, as if fully

      stated herein to support all allegations made in this Count.

56.   Defendant’s actions with respect to Plaintiff have shown willful

      misconduct, malic, fraud, wantonness, oppression, and complete want

      of care, thus entitling Plaintiff to an award of punitive damages in

      order to deter, punish, and penalize Defendant for and from such

      conduct in the future.


                             COUNT V
                      ATTORNEY FEES AND COSTS
57.   Plaintiff incorporates by reference all the preceding paragraphs of the

      Complaint, and any other facts this Court deems relevant, as if fully

      stated herein to support all allegations made in this Count.

58.   Plaintiff is entitled to an award of attorney’s fees and expenses of

      litigation because Defendant has acted in bad faith, has been



                                       9
    Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 10 of 12




     stubbornly litigious and caused Plaintiff unnecessary trouble and

     expense.




                              PRAYER FOR RELIEF


     Wherefore, the Plaintiff respectfully requests that this Court:


      A.     Plaintiff requests a jury trial on all questions of fact raised by its

Complaint.

      B.     Grant a permanent           injunction enjoining Defendant,        its

officers, successors, assigns and all other persons in active concert or

participation with it, from engaging in employment practices which

discriminate on the basis of race or sex.

      C.     Order Defendant to institute and carry out policies, practices,

and programs which provide equal employment opportunities for all

employees and which eradicate the effects of its past and present unlawful

employment practices.

      D.     Order    Defendant     to    make    Plaintiff whole,     who    was

adversely affected by Defendant's discriminatory conduct, by providing

appropriate back pay with prejudgment interest, in amounts to be

determined at trial, and other affirmative relief necessary to eradicate the

                                         10
    Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 11 of 12




effects of its unlawful employment practices.

      E.    Order Defendant      to make Plaintiff whole by providing

compensation for past and future pecuniary losses resulting from the

unlawful employment practices described above, including job search

expenses, in amounts to be determined at trial.

      F.    Order Defendant      to make Plaintiff whole by providing

compensation for non-pecuniary losses resulting from the unlawful

employment practices described above, including emotional pain and

suffering, inconvenience, loss of enjoyment        of life, anxiety, stress,

depression, and humiliation, in amounts to be determined at trial.

      G.    Grant to Plaintiff his reasonable attorneys’ fee and reasonable

expert witness fees together with any and all other costs associated with this

action as provided by 42 U.S.C. § 12117 (a)(as ); and

      H.    Order Defendant to pay Plaintiff punitive           damages for

Defendant's malicious and reckless conduct described above, in amounts to

be determined at trial.

      I.    Grant such further relief as the Court deems necessary and

            proper.




                                     11
    Case 1:21-cv-02028-LMM-AJB Document 1 Filed 05/12/21 Page 12 of 12




     Respectfully submitted this 12th day of May, 2021.


                                         /s/ Tamika Sykes
                                         Tamika Sykes
                                         Attorney for Plaintiff
                                         Georgia Bar No. 141617
                                         tamikasykes@sykeslawllc.com




Sykes Law LLC
1700 Northside Dr.
Suite #A7-532
Atlanta, GA 30318
(404) 870-8410-Office
(404) 870-8411-Fax
www.sykeslawllc.com




                                    12
